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IN THE UNITED sTATES DISTRICT CoURT
FoR THE wESTERN DISTRICT oF TENNESSEEGS rla 30 at 31 35
EASTERN DivlsloN

UNITED STATES OF AMERICA,

 

Plaintiff,
VS. No. 04-1()()50T
BILLY WAYNE MOORE,

Defendant.

ORDER CONTINUING TRlAL AND REPORT DATE
AND EXCLUDING DELAY

Upon motion of counsel for defendant, with no objection from the government and for
good cause shown, the report date which is currently scheduled for July 5, 2005, and the trial
date Which is currently scheduled for July l3, 2005, are hereby continued. The defendant
contends that additional time is needed to prepare for trial.

The court finds that defendant’s need for a continuance for additional preparation
outweighs the best interests of the public and the defendant in a speedy trial; therefore, the ends
of justice will be served by granting a continuance in order to allow the defendant more time to
prepare for trial. Accordingly. the trial is continued from July 13. 2005_ to August 15d 2005. at
9:30 A.M. The resulting period ofdelay, from July 13, 2005, to August 15, 2005, is excluded
pursuant to 18 U.S.C. § 3161(h)(8)(A).

A new report/motion date has been set for August 5, 2005, at 9:00 a.rn.

IT IS SO ORDERED.

 

 

Thts document entered on the docket eet|ln compliance
with Flu!e 55 andlor 32(b) FRCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
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Honorable J ames Todd
US DISTRICT COURT

